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 6
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 8

 9                     THE UNITED STATES DISTRICT COURT FOR THE
10
                             CENTRAL DISTRICT OF CALIFORNIA
11

12

13   WILFRED STEWART,          )                 Docket No.:
14
                               )
              Plaintiff,       )                 COMPLAINT FOR DAMAGES UNDER
15                             )                 THE FEDERAL TORT CLAIMS ACT
16       vs.                   )                 FOR NEGLIGENCE
                               )
17   UNITED STATES OF AMERICA; )                 DEMAND FOR JURY TRIAL
18   RUBEN MACIAS,             )
                               )
19                             )
20            Defendants.      )
                               )
21
                               )
22   ~~~~~~~~~)
23
24
              COMES NOW, PLAINTIFF, WILFRED STEWART AND DOES COMPLAIN
25
26   AND ALLEGE AGAINST DEFENDANTS AND EACH OF THEM, AS FOLLOWS:

27   Ill
28
     Ill
     1
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 1
                                                   I.
 2                                JURISDICTION AND VENUE
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            1.    Plaintiff brings this action under the Federal Tort Claims Act, 28 U.S.C. §
 4

 5   1346(b), 1402(b), 2401(b), and 2671-2680 ("FTCA") and 39 U.S.C. § 409(a) against

 6   Defendants UNITED STATES OF AMERICA and RUBEN MACIAS, and each of them,
 7
     for negligent acts and/or omissions arising from a postal truck versus automobile incident
 8

 9   on August 29, 2019, which occurred on Rosecrans Avenue and west of Ramona Avenue,
10
     in the City of Lawndale, County of Los Angeles resulting in Plaintiff sustaining personal
11
     injuries and damages.
12

13          2.    This Court has jurisdiction over all causes of action asserted against the
14
     federal government, including Defendants UNITED STATES OF AMERICA and RUBEN
15

16   MACIAS, and each of them, pursuant to 28 U.S.C. § 1346 and 39 U.S.C. § 409(a).

17          3.    Venue is proper is 28 U.S.C. § 1402(b) because at all times relevant, Plaintiff
18
     resided. and resided in this district and all of the wrongful, negligence acts and/or omissions
19
20   complained of herein occurred in this judicial district.
21
                                                   II.
22
                                              PARTIES
23

24          4.    Plaintiff is, and at all times herein mentioned is, an individual residing in the
25
     County of Los Angeles, State of California.
26
27
            5.    Defendant UNITED STATES OF AMERICA is the United States federal

28   government responsible for, inter alia.. providing postal service in the United States.

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            6.    Defendant RUBEN MACIAS is, and at all times herein mentioned was, an
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 2   individual residing in the County of Los Angeles, State of California and an employee,
 3
     acting in course and scope of employment with Defendant UNITED STATES OF
 4

 5   AMERICA.

 6          7.    Plaintiff is informed and believes and thereupon alleges that, at all times
 7
     mentioned herein, defendants were the agents, servants, employees, successors-in-interest
 8

 9   and/or joint venturers of their co-defendants and were, as such, acting within the purpose,
10
     course, scope and authority of said agency, employment, successor-in-interest and/or joint
11
     venture and that each and every defendant as aforesaid was acting as a principle and was
12

13   negligent in the selection and hiring and retention of each and every defendant as an agent,
14
     employee, successor-in-interest and/or joint venture.
15

16                                               III.

17                        STATEMENT OF THE RELEVANT FACTS
18
            8.    On August 29, 2019, Plaintiff was driving his automobile westbound on
19

20   Rosecrans Avenue when his vehicle was struck by a United States Postal Service truck
21
     (License no. 3304233) that was driven by Defendant RUBEN MACIAS. The United
22
     States Postal Service truck being driven by Defendant RUBEN MACIAS negligently and
23

24   wrongfully made a right hand tum to westbound Rosecrans and collided with Plaintiffs
25
     vehicle causing Plaintiff to sustain personal injuries and damages.
26
27
            9.    Plaintiff alleges the acts, conduct and omissions of defendants and each of

28   them, were negligent and the acts, conduct and omissions were the legal, proximate cause

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 1
     of injuries and damages to Plaintiff.

 2            1o.   As a result of the conduct, omissions and negligence of defendants and each
 3
     of them, plaintiff has been required to employ and has employed physicians and surgeons
 4

 5   and healthcare professionals and has incurred medical expenses in the treatment of said

 6   injuries; plaintiff alleges on information and belief that plaintiff will employ physicians
 7
     and surgeons and healthcare professionals in the future and will incur medical expenses
 8

 9   in the treatment of said injuries in the future by reason of said negligence. Plaintiff has
10
     sustained other economic damages for property damage to his bicycle at least $500.00.
11
     Plaintiff has incurred economic damages and in the future will incur economic damages
12

13   according to proof as result of the conduct, omissions, and negligence of defendants and
14
     each of them. Plaintiff is informed and believes, and thereon alleges that he has sustained
15

16   past economic damages of least $136,212.89 and future economic damages ofleast

17   $500,000.00 for a total amount of at least $536,212.89 and will ask leave to amend this
18
     Complaint to show the exact amounts incurred or will offer proof thereof at the time of
19

20   trial.
21
              11.   Plaintiff was required to comply with FTCA claim statute against Defendants,
22
     and each of them, and Plaintiff did timely comply with said FTCA claim statute.§
23

24   Ill/
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     /Ill
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27
     Ill

28   Ill

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 1
                                              IV.
                                     FIRST CAUSE OF ACTION
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 3
                    (Federal Tort Claims Act For Negligence Against Defendants

 4                          United States of America and Ruben Macias)
 5
              12.   Plaintiff alleges and incorporates by reference as though fully set forth herein
 6
 7   each and every allegation contained above.
 8
              13.   On August 29, 2019, Plaintiff was driving his automobile westbound on
 9
     Rosecrans A venue when his vehicle was struck by a United States Postal Service truck
10

11   (License no. 3304233) that was driven by Defendant RUBEN MACIAS. The United
12
     States Postal Service truck being driven by Defendant RUBEN MACIAS negligently and
13

14
     wrongfully made a right-hand tum to westbound Rosecrans and collided with Plaintiffs

15   vehicle which proximately and substantially caused Plaintiff to sustain personal injuries.
16
              14.   Under the FTCA and 39 U.S.C. § 409(a), Defendant UNITED STATES OF
17
18   AMERICA is liable relating to tort claims in the same manner and to the same extent as a

19   private individual under like circumstances, including liability to Plaintiff for the
20
     common law torts of its employee, i.e., Defendant RUBEN MACIAS, who was in the
21

22   course and scope of employment, in the same manner in which the common law has
23
     recognized liability, and under common law of the State of California, Defendant
24
     UNITED STATES OF AMERICA and Defendant RUBEN MACIAS would be liable
25

26   and are liable to Plaintiff for their negligent acts, conduct and omissions as alleged herein
27
     above.
28
              15.   As a result of the conduct, omissions and negligence of defendants and each
     5
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 1   of them, Plaintiff sustained severe personal injuries, severe emotional distress, pain and

 2   suffering, permanent injuries and trauma and damages as alleged herein above.
 3
                                               PRAYER
 4

 5          WHEREFORE, Plaintiff demands judgment against Defendants and each of them,

 6   as follows:
 7
            1.     General damages in the amount of $500,000.00 and any additional general
 8

 9                 damages according to proof;
10
            2.     Economic damages in the amount of$136,212.89 and any economic damages
11
                   incurred after the filing of this lawsuit according to proof;
12

13          3.     Prejudgment and post interest according to proof;
14
            4.     Costs of suit; and
15
16          5.     For such other relief as the court deems proper.

17                                 DEMAND FOR JURY TRIAL
18
            Plaintiff hereby demands trial by jury.
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21
     Dated:_February 23, 2022                         LAW OFFICES OF JACOB EMRANI
                                                      A Profe ·     oration
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